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                                            Bankruptcy Case Number: 13-10774


                                                           15317-MSN-DE-021065299




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on May 28, 2013, at 11:30 o'clock AM PDT, Chiquita Mosley
 completed a course on personal financial management given by internet by
 Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. § 111 to
 provide an instructional course concerning personal financial management in the
 Northern District of Mississippi.




 Date:   May 28, 2013                       By:      /s/Eunice Kristine Francia


                                            Name: Eunice Kristine Francia


                                            Title:   Counselor
